                Case 23-57347-wlh                        Doc 1          Filed 08/01/23 Entered 08/01/23 08:55:49                            Desc
                                                                        Petition Page 1 of 6
 Fill in this information to identify the case:                                                                        FLED Ili CLERK'S OFFICE
                                                                                                                       U.S. BANKRUPTCY COURT •
                                                                                                                         NORTHERN DISTRICT
 United States Bankruptcy Court for the:                                                                                      OF GEORGIA

             C/1            District of     GeOrc3t C't
                                          (State)
                                                                                                                      2023 AUG I AM 8:51+
 Case number (If known):                                        Chapter I I
                                                                                                                          VANIA S. alnbck if this is an
                                                                                                                              CLERK amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known), For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name                               IS - ( Wacret, Wci                                             C-

 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer -
    Identification Number (EIN)
                                                gz Olvs- g5 9                             0




 4. Debtor's address                            Principal place of business                                   Mailing address, if different from principal place
                                                                                                              of business

                                               0794                               4                           Number      Street
                                                Number         Street


                                                                                                              P.O. Box

                                                                                          3)a/3
                                                City                              State       ZIP Code        City                        State       ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business

                                                County
                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



 s. Debtor's website (URL)




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Debtor                                                                                          Case number (i!known)
             Name



                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         LI Partnership (excluding LLP)
                                              Other. Specify:


                                         A. Check one:
 7. Describe debtor's business
                                         U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         0 Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         CI Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ft   None of the above


                                         B. Check all that apply:

                                         CI Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         •    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                         CI Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            htto://www.uscourts.qov/four-diqit-national-association-naics-codes .



  8. Under which chapter of the          Check one:
     Bankruptcy Code is the
                                          O Chapter 7
     debtor filing?
                                          •   Chapter 9
                                          ad, Chapter 11. Check all that apply
     A debtor who is a "small business
     debtor" must check the first sub-                     vi The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                             affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                            recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                             income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                               11 U.S.C. § 1116(1)(B).
     check the second sub-box.                             CI The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          •   Chapter 12




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor                                                                                         Case number (if known)
             Name



 9. Were prior bankruptcy cases           No
    filed by or against the debtor
    within the last 8 years?           0 Yes. District                               When                               Case number
                                                                                                MM! DD / YYYY
     If more than 2 cases, attach a
     separate list.                              District                            I.AThen                            Case number
                                                                                                MM! DD / YYYY

 10.Are any bankruptcy cases
                                                                      , fraPi 4K-
    pending or being filed by a
    business partner or an             *Yes.     Debtor     'fr-641-14-                                                 Relationship     0 ViAer
    affiliate of the debtor?                     District      Alor411c           ‘'corl iou                            When            6 01 at,1g
                                                                                                                                       MM / DD /YYYY
     List all cases. If more than 1,
     attach a separate list.                     Case number, if known     a3 —     5 7 3'45
 11.Why is the case filed in this      Check all that apply:
    district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12.Does the debtor own or have        irNo
    possession of any real
                                       CI Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?

                                                lj It needs to be physically secured or protected from the weather.

                                                CI It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                O Other



                                                Where is the property?
                                                                           Number              Street



                                                                           City                                                        State ZIP Code


                                                Is the property insured?

                                                     No
                                                O Yes. Insurance agency

                                                            Contact name

                                                            Phone



             Statistical and administrative information




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Debtor                                                                                           Case number (if known)
             Name




 13.Debtor's estimation of                Check one:
    available funds                       idFunds will be available for distribution to unsecured creditors.
                                          0 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


 14. Estimated number of
                                          af 1-49                           D 1,000-5,000                                   1:1 25,001-50,000
                                          O 50-99                           O 5,001-10,000                                  LI 50,001-100,000
     creditors
                                          LI 100-199                        LI 10,001-25,000                                O More than 100,000
                                          O 200-999


                                          •   $0-$50,000                    •      $1,000,001-$10 million                   •  $500,000,001-$1 billion
 15. Estimated assets
                                          •   $50,001-$100,000              •      $10,000,001-$50 million                  •  $1,000,000,001-$10 billion
                                          •   $100,001-$500,000             •      $50,000,001-$100 million                 •  $10,000,000,001-$50 billion
                                              $500,001-$1 million           •      $100,000,001-$500 million                LI More than $50 billion

                                          •   $0-$50,000                    O $1,000,001-$10 million                        •  $500,000,001-$1 billion
 16. Estimated liabilities
                                          •   $50,001-$100,000              • $10,000,001-$50 million                       •  $1,000,000,001-$10 billion
                                              $100,001-$500,000             • $50,000,001-$100 million                      •  $10,000,000,001-$50 billion
                                          •   $500,001-$1 million           O $100,000,001-$500 million                     LI More than $50 billion


            Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on 6 43


                                                                                                                      ciet'firk.7-1‘eir
                                                                                                                  YvelS'
                                              Signature of authorized r   sentat     of debtor               Printed name

                                              Title       aPileir




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
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Debtor                                                                          Case number or know))
            Name




 18. Signature of attorney
                                                                                           Date
                                   Signature of attorney for debtor                                       MM   / DD / YYYY




                                   Printed name


                                   Firm name


                                   Number         Street


                                   City                                                           State           ZIP Code


                                   Contact phone                                                  Email address




                                   Bar number                                                     State




  Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 5
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                                                             Petition Page 6 of 6
Case Number: 23-57347                 Name: 1851 Warren Way LLC                            Chapter: 11                  Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.
If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts. ov/services-forms/bankru tc /filin -without-attorne

El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at:
      www.ganb.uscourts.gov/frequently-used-forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                     O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        El Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 O Signed Statement of SSN                                                               O Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                           Case filed via:
El Schedules: A/B, D, E/F, G, H                                                       Intake Counter by:
El Summary of Assets and Liabilities                                                    O Attorney
El Declaration About Debtor(s) Schedules                                                O Debtor
O Attorney Disclosure of Compensation                                                   El Other: Chelscia N Frazier 478-569-6044
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 0 Mailed by:
0 Disclosure of Compensation of Petition Preparer (Form 2800)                         0 Attorney
CI Chapter 13 Current Monthly Income                                                  0 Debtor
El Chapter 7 Current Monthly Income                                                   O Other:
El Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)
O Pay Advices (Individuals only) (2 Months)                                                 History of Case Association
1:1 Chapter 13 Plan, complete with signatures (local form)                         Pending Related case filed within 2 years:
CI Corporate Resolution (Non-Individual Ch. 7 & 11)                                23-57345 — lAil-fl
MISSING DOCUMENTS DUE WITHIN 30 DAYS                                                                                              •


O Statement of Intent — Ch.7 (Individuals only)                                    Signature:
Ch.11 Business                                                                                ent of receipt
                                                                                   AcknowledgnA       4? o                  ciency Notice
El 20 Largest Unsecured Creditors
M List of Equity Security Holders                                                   Intake Cler                ID Verified El          Date:8/1/23
El Small Business - Balance Sheet
El Small Business - Statement of Operations
El Small Business - Cash Flow Statement
El Small Business - Federal Tax Returns


FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
      0 Paid $
      El Fee due $ 1738.00
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                                Atlanta, Georgia 30303
                                                                    404-215-1000
